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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


HONEYFUND.COM, INC.,
PRIMO TAMPA, LLC,
CHEVARA ORRIN, and
WHITESPACE CONSULTING,
LLC D/B/A
COLLECTIVE CONCEPTS, LLC,
                                              Case No. 4:22-cv-227 (ACW) (MAF)
       Plaintiffs,
                                              JURY TRIAL DEMANDED
       v.

RON DESANTIS, in his official
capacity as Governor of Florida;              FIRST AMENDED COMPLAINT
ASHLEY MOODY, in her official
capacity as Attorney General of
Florida, DARRICK MCGHEE, in his
official capacity as the Chair of the
Florida Commission on Human
Relations, et al.

       Defendants.




                                INTRODUCTION

      1.     This lawsuit challenges Florida’s use of state authority to stifle speech

with which those in power disagree—a clear violation of the First Amendment of

the United States Constitution. The defining feature of the American constitutional

system of government is that the government cannot establish orthodoxy of


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thought, either by mandating certain beliefs or by prohibiting disfavored ideas.

The State of Florida has blatantly violated these fundamental values of democracy,

requiring swift and decisive action by this Court.

        2.       House Bill 7, titled the “Individual Freedom Act,” was enacted at

Governor DeSantis’s behest with the stated purpose to “fight back against woke

indoctrination” and to “take on . . . corporate wokeness.”1 Governor DeSantis

originally called it the “Stop the Wrongs to Our Kids and Employees” or “Stop

W.O.K.E. Act” (hereinafter the “Stop WOKE Act”). The Stop WOKE Act

violates the First Amendment on its face by purporting to ban and impose liability

for “promot[ing],” “endors[ing],” or “advanc[ing]” certain “concepts” disfavored

by those in power, including based on whether the concepts make a listener “feel

guilt, anguish, or other forms of psychological distress” about the relative privilege

they enjoy in our society.

        3.       While the Stop WOKE Act purports to combat discrimination,

existing federal and state antidiscrimination law already prohibits speech that

strays into actual discrimination with an adverse employment consequence. With

this bill, Florida seeks to go further and ban pure speech that its political leaders

dislike. That it cannot do.


1
  Press Release, Florida Office of the Governor, Governor DeSantis Announces Legislative Proposal to Stop
W.O.K.E. Activism and Critical Race Theory in Schools and Corporations (Dec. 15, 2021),
https://www.flgov.com/2021/12/15/governor-desantis-announces-legislative-proposal-to-stop-w-o-k-e-activism-and-
critical-race-theory-in-schools-and-corporations/.

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        4.      In fact, the Stop WOKE Act reads more like the policy of an

authoritarian regime than a law passed in our American democracy. The Stop

WOKE Act aims to forward the government’s preferred narrative of history and

society and to render illegal speech that challenges that narrative. It also seeks to

muzzle independent institutions, including businesses, that are or might become

centers of dissent. And, in doing so, it attempts to direct public outrage toward

disfavored minorities.

        5.      Over the past several years, the American public has been engaged in

an energetic discussion regarding the ongoing, entrenched effects of the Nation’s

recent history of formal and informal discrimination on the basis of race, gender,

and sexual orientation. That disparities along these lines continue to exist in our

society, and remain relevant in the workplace, is clear. For example: Black

Americans as a group suffer higher rates of unemployment2 and homelessness3, as

well as lower rates of college education4, average wages5, and representation in




2
  Kristen Broady and Carl Romer, Despite June’s Positive Jobs Numbers, Black Workers Continue to Face High
Unemployment, THE AVENUE (Jul. 2, 2021), https://www.brookings.edu/blog/the-avenue/2021/07/02/despite-
junes-positive-jobs-numbers-black-workers-continue-to-face-high-unemployment/.
3
  Homelessness and Racial Disparities, NATIONAL ALLIANCE TO END HOMELESSNESS (Oct. 2020),
https://endhomelessness.org/homelessness-in-america/what-causes-homelessness/inequality/.
4
  Jon Marcus, Racial Gaps in College Degrees are Widening, Just When States Need Them to Narrow, THE
HECHINGER REPORT (Aug. 13, 2021), https://hechingerreport.org/racial-gaps-in-college-degrees-are-widening-
just-when-states-need-them-to-narrow/.
5
  Jillian Berman, Black New Yorkers with a College Degree Earn $21,900 Less a Year than Their White
Counterparts, NEW YORK POST (Aug. 5, 2020), https://nypost.com/2020/08/05/black-new-yorkers-with-a-
college-degree-earn-21900-less-a-year-than-their-white-counterparts/.

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corporate management and leadership positions6; women on average continue to

earn only a fraction of what their male counterparts earn7, and they remain

significantly underrepresented in the upper echelons of business8; and groups at the

intersection of those characteristics face even greater challenges.9

         6.       These ongoing vestiges of our history of discrimination take an

economic toll on American businesses as well. One source estimates that

organizations that prioritize diversity, equity, and inclusion (“DEI”) training are up

to 21% more profitable than those that do not.10 One hypothesis that Plaintiffs

subscribe to is that workplace discrimination results in economic harm by

preventing employees from fully realizing their potential and employers from

enjoying the benefits of that increased productivity. It also interferes with the

optimal allocation of talent.11 Understanding and addressing the causes of these

persistent disparities in our society is thus of urgent importance. While people of


6
  Laura Morgan Roberts & Anthony J. Mayo, Toward a Racially Just Workplace (Nov. 14, 2019) (noting that, at the
time of publication, “8% of managers and 3.8% of CEOs [were] Black” and “[i]n Fortune 500 companies, there
[were] currently only three Black chief executives, down from a high of 12 in 2002”),
https://hbr.org/2019/11/toward-a-racially-just-workplace.
7
  Amanda Barroso and Anna Brown, Gender Pay Gap in U.S. Held Steady in 2020, PEW RESEARCH CENTER
(May 25, 2021), https://www.pewresearch.org/fact-tank/2021/05/25/gender-pay-gap-facts/.
8
  Women in the Workplace 2020: Corporate America Is at a Critical Crossroads, MCKINSEY & COMPANY
(2020), https://wiw-report.s3.amazonaws.com/Women_in_the_Workplace_2020.pdf.
9
  Id.
10
   InStride, 8 types of diversity, equity and inclusion training to implement within your organization (Apr. 1, 2021),
https://www.instride.com/insights/diversity-inclusion-training/; see also Sundiatu Dixon-Fyle et al., Diversity Wins:
How Inclusion Matters, MCKINSEY & COMPANY (2020), https://www.mckinsey.com/featured-insights/diversity-
and-inclusion/diversity-wins-how-inclusion-matters (finding that, in terms of ethnic and cultural diversity, “top-
quartile companies outperformed those in the fourth one by 36 percent in profitability” and that “a systematic
business-led approach to I[nclusion] & D[iversity]” is key to increasing diversity).
11
   Kilian Huber, How Discrimination Harms the Economy and Business, CHICAGO BOOTH REVIEW (Jul. 15,
2020), https://www.chicagobooth.edu/review/how-discrimination-harms-economy-and-business.

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good faith may disagree about why such inequalities continue to exist, or what

steps are most likely to address them, or even whether some solutions might entail

other costs that counterbalance the benefits, there is no doubt that the First

Amendment protects the right of all citizens to openly engage in that debate and to

espouse their own views about these inequalities and the best way to tackle them.

      7.     The Supreme Court has clearly held that employers, including

corporations, have rights under the First Amendment to share their own views on

these matters.

      8.     One view that has attracted considerable attention and support over

the past decade, and which Plaintiffs believe, is that discrimination on the basis of

race, gender and sexual orientation is “systemically” embedded in American

society, both formally and informally, as a result of centuries of legal and socially

reinforced discrimination. According to this view, the structures and dynamics of

power are so integrated throughout society that, whether consciously or

unconsciously, those who are privileged by those rules, norms, and habits can fail

to recognize how they have benefited from historical and present-day

discrimination; only by acknowledging such unconscious bias and privilege on the

basis of race, gender, or sexual orientation can we begin the process of

counteracting those forces.




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      9.     Of course, many oppose this view and seek to counter it with

alternative explanations and proposals.

      10.    The First Amendment protects the rights of those on all sides of this

significant public discourse to participate and to advocate for their preferred

solutions. The government may not silence one side of the discourse by labeling it

unlawful, as the State of Florida has attempted to do in the Stop WOKE Act.

Regardless of one’s views on the underlying strength of these arguments, the First

Amendment precludes the State of Florida from banning disfavored “concepts.”

      11.    Plaintiff Honeyfund.com, Inc. (“Honeyfund”) is a private employer

based in Clearwater, Florida, that is committed to fostering an inclusive workplace

free of discrimination. Honeyfund’s CEO regularly speaks to its employees about

the need for diversity and inclusion efforts in the workplace and ways to combat

institutional racism and sexism. Honeyfund’s CEO also expresses these views on

the workplace’s messaging platform. Honeyfund is also planning to institute a

formalized DEI training program for its employees later this year that will cover

topics including advancing women in business, understanding gender

expansiveness and understanding institutional racism. For Honeyfund, prioritizing

diversity in the workplace and in marketing materials is both a values-driven

practice and a financially prudent business decision, allowing Honeyfund to serve

its diverse customer base.


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      12.    Plaintiff Primo Tampa, LLC (“Primo”) is a private employer and

franchisee group—operating Ben & Jerry’s scoop shops—based in Clearwater,

Florida, whose core philosophy is improving racial and socioeconomic equity.

Primo employees attend annual anti-racism and DEI trainings and workshops

conducted by Primo Partners, Primo’s parent company, that endorse concepts like

undoing systemic racism, dismantling white privilege, overcoming implicit bias,

and implementing restorative justice. Primo also sponsors cultural competency

trainings designed to develop employees’ ability to understand and interact with

people from a different race, gender, or national origin. Primo employees must

also attend regular trainings by Ben & Jerry’s, its corporate franchisor, that

advance the need for racial equity. Primo’s belief in the critical role played by DEI

trainings led its parent company, Primo Partners, to start its own DEI consulting

business to help mentor other minority business owners and executives. Primo

views itself as a social justice organization, with ice cream as the platform to

achieve it. Because racial justice is so core to Primo’s mission, it is critical for

Primo to educate employees about these issues so that they can build trust with

each other and more authentically represent its organizational culture to its

customers.

      13.    Plaintiff Chevara Orrin is an award-winning expert on diversity,

equity, inclusion, and justice (“DEIJ”) and a dedicated social activist who works


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with private employers in Florida and around the country to advance gender, racial,

and LGBTQ+12 equality, including by conducting trainings to advance workplace

parity. In her capacity as a DEIJ consultant, she is engaged by many of Florida’s

leading corporations and nonprofits to provide seminars and leadership and

employee learning sessions on topics such as historical and structural racism,

unconscious bias, and power relationships, which explore diversity and inclusion

in workplace environments.

        14.      Plaintiff Whitespace Consulting, LLC d/b/a Collective Concepts, LLC

(“Collective Concepts”) is a consulting corporation that works with corporate and

nonprofit clients to provide DEIJ trainings. Plaintiff Orrin provides DEIJ

consulting services through Collective Concepts.

        15.       Plaintiffs regard their efforts to address workplace DEI concerns

through educational programs and dialogue as crucial to their mission of advancing

equitable workplace culture, improving employee and customer satisfaction and

retention, and enhancing productivity and innovation.

        16.      Governor DeSantis and the Florida Legislature seek to broadly silence

this speech with which they disagree. The Stop WOKE Act purports to prohibit all

employers of 15 or more employees from advocating any of an enumerated set of



12
  This term encompasses people who are lesbian, gay, bisexual, transgender, queer/questioning, and those of other
gender identities and sexual orientations.

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concepts. The law was enacted with an obvious and stated purpose of silencing

those who the Governor castigates as “woke”—which is to say that they advance

ideas contrary to his own.

      17.    The Stop WOKE Act plainly violates the First Amendment by

restricting speech based on content and suppressing expression merely because

certain public officials disagree with Plaintiffs’ viewpoints. Beyond even the

broad reach of its plain text, Florida’s law is intended to and will chill an even

wider range of protected speech because it is so vaguely worded. Those whose

First Amendment rights will be restricted include not only Florida employers and

the DEI consultants they retain, but also employees, who will be denied access to

educational programs and dialogue due to the State’s censorship.

      18.    This action seeks to protect the rights that Florida private employers

and DEI consultants have under the First and Fourteenth Amendments to the

United States Constitution to engage in open and free exchange of information

with employees to identify and begin to address discrimination and harm within

their or their clients’ organizations.

                                         PARTIES

      19.    Plaintiff Honeyfund is a technology company that provides wedding

registries, as well as other wedding resources, advice, articles, and directories.

Honeyfund is based in Clearwater, Florida. The company is committed to DEI


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principles and fostering both an inclusive workplace as well as externally fostering

a more just and racially equitable society. The legislation at issue restricts its

ability to provide DEI trainings, seminars, and workshops to its 16 employees and

7 contractors.

      20.    Plaintiff Primo is a franchise operation of Ben & Jerry’s ice cream

scoop shops in Clearwater Beach and Midtown Tampa, Florida. It is a subsidiary

of Primo Partners LLC, the largest Ben & Jerry’s franchise operator in the country.

Primo is 100% Black-owned. It views itself as a social justice organization

dedicated to dismantling systemic racism, which it does by having its employees

attend anti-racism and DEI training, among other initiatives. The legislation at

issue restricts its ability to provide DEI trainings, seminars, and workshops to its

40 employees and forces it to defy corporate requirements by prohibiting certain

corporate-mandated trainings.

      21.    Plaintiff Orrin is a DEIJ consultant residing in Broward County,

Florida. She is the Chief Creative Catalyst of Whitespace Consulting, LLC d/b/a

Collective Concepts, LLC, a consulting firm she founded to provide DEIJ training.

She is also a principal strategist at the Winters Group, a global diversity and

inclusion consulting firm. Plaintiff Orrin specializes in devising and facilitating

leadership and employee learning sessions on improving cultural agility and work

climate, developing comprehensive organizational strategies, building marketplace


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DEIJ brand awareness, and developing Business Resource Groups. Her clients

through the Winters Group include many prominent companies, including

Walgreens, Make-A-Wish America, Glenstone, and Facebook, among others. The

legislation at issue restricts her ability to conduct DEIJ trainings for employers.

      22.    Plaintiff Whitespace Consulting, LLC d/b/a Collective Concepts is a

Florida corporation co-founded by Plaintiff Orrin. Collective Concepts is a

consulting firm that provides DEIJ training to corporate clients. Plaintiff Orrin

provides DEIJ consulting services through Collective Concepts. Her clients

through Collective Concepts include St. Jude Children’s Research Hospital,

SunTrust Banks, the American Bar Association, Comoto, and Florida Blue. The

legislation at issue restricts its ability to conduct DEIJ trainings for employers.

      23.    Defendant Ron DeSantis (“DeSantis”) is sued in his official capacity

as the Governor of the State of Florida. He is Florida’s constitutional officer

vested with “supreme executive power” who must “take care that the laws be

faithfully executed.” See Art. IV, § 1(a), Fla. Const. Under the Florida Civil Rights

Act of 1992, the Florida Commission on Human Relations (the “Commission”)

may refer any employment discrimination complaint to the Governor’s office.

Governor DeSantis is among the Florida state officials personally responsible for

the enforcement of the Stop WOKE Act.




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      24.    Defendant Ashley Moody is sued in her capacity as Attorney General

for the State of Florida. She serves as Florida’s chief legal officer. See Fla. Const.

Art. IV, § 4(b), Fla. Const. Florida’s Attorney General is empowered to bring civil

actions for damages, injunctive relief, and fines not to exceed $10,000 per violation

when the attorney general has cause to believe an employer engaged in a pattern or

practice of discrimination or otherwise engaged in discrimination that violates the

law and raises issues of “great public interest.” See § 760.021(1), Fla. Stat. (2022).

Attorney General Moody is among the Florida state officials personally

responsible for enforcement of the Stop WOKE Act.

      25.    Defendant Darrick D. McGhee is sued in his official capacity as

Senior Chair of the Commission, a state entity with responsibility for enforcement

of the Florida Civil Rights Act. The Commission has the power to initiate and

investigate complaints alleging any discriminatory practice. Six members of the

Commission constitute a quorum for the purposes of exercising the Commission’s

powers, but a quorum may also establish a panel of three Commissioners to

exercise the Commission’s powers. The Commission’s investigatory powers allow

it to issue subpoenas, administer oaths or affirmations to and compel the

attendance and testimony of witnesses or to issue subpoenas for and compel the

production of books, papers, records, documents, and other evidence pertaining to

any investigation or hearing. These investigatory powers may be delegated to a


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single commissioner or the executive director. Furthermore, those alleging

violations of the Florida Civil Rights Act must submit their complaint to the

Commission, which has the power to decide whether there is reasonable cause to

believe an alleged violation of the Florida Civil Rights Act occurred. The

Commission also has the power to refer a complaint to any other State agency that

has jurisdiction. See § 760.11(2), Fla. Stat. (2022). Chairman McGhee is among

the Florida state officials personally responsible for enforcement of the Stop

WOKE Act.

        26.   Defendant Angela Primiano, of Hollywood, Florida, is sued in her

official capacity as Vice Chair and Commissioner of the Commission.

Commissioner Primiano is among the Florida state officials personally responsible

for enforcement of the Stop WOKE Act.

        27.   Defendant Mario Garza, of Tampa, Florida, is sued in his official

capacity as Commissioner of the Commission. Commissioner Garza is among the

Florida state officials personally responsible for enforcement of the Stop WOKE

Act.

        28.   Defendant Libby Farmer, of Tallahassee, Florida, is sued in her

official capacity as Commissioner of the Commission. Commissioner Farmer is

among the Florida state officials personally responsible for enforcement of the

Stop WOKE Act.


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        29.   Defendant Jay Pichard, of Tallahassee, Florida, is sued in his official

capacity as Commissioner of the Commission. Commissioner Pichard is among

the Florida state officials personally responsible for enforcement of the Stop

WOKE Act.

        30.   Defendant Larry D. Hart, of Fort Myers, Florida, is sued in his official

capacity as Commissioner of the Commission. Commissioner Hart is among the

Florida state officials personally responsible for enforcement of the Stop WOKE

Act.

        31.   Defendant Monica Cepero, of Fort Lauderdale, Florida, is sued in his

official capacity as Commissioner of the Commission. Commissioner Cepero is

among the Florida state officials personally responsible for enforcement of the

Stop WOKE Act.

        32.   Defendant Vivian Myrtetus, of Miami, Florida, is sued in her official

capacity as Commissioner of the Commission. Commissioner Myrtetus is among

the Florida state officials personally responsible for enforcement of the Stop

WOKE Act.

        33.   Defendant Dawn Hanson, of Tallahassee, Florida, is sued in her

official capacity as Commissioner of the Commission. Commissioner Hanson is

among the Florida state officials personally responsible for enforcement of the

Stop WOKE Act.


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      34.    Defendant Kenyatta Moye, of Tallahassee, Florida, is sued in her

official capacity as Commissioner of the Commission. Commissioner Moye is

among the Florida state officials personally responsible for enforcement of the

Stop WOKE Act.

      35.    Defendant Pamela Payne, of Jacksonville, Florida, is sued in her

official capacity as Commissioner of the Commission. Commissioner Payne is

among the Florida state officials personally responsible for enforcement of the

Stop WOKE Act.

                            JURISDICTION AND VENUE

      36.    This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation, under color of state law, of rights secured by the Constitution of the

United States.

      37.    This Court has jurisdiction over this action under 28 U.S.C. § 1331

(federal question).

      38.    This Court has the authority to enter a declaratory judgment and to

provide preliminary and permanent injunctive relief pursuant to Federal Rules of

Civil Procedure 57 and 65 and 28 U.S.C. §§ 2201 and 2202.

      39.    Venue appropriately lies in this District pursuant to 28 U.S.C. §

1391(b) because at least one defendant resides in this District and all defendants

are residents of the State in which the District is located; additionally, a substantial


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part of the events giving rise to Plaintiffs’ claims have occurred and are occurring

in this District.

       40.    The Stop WOKE Act constitutes an immediate infringement of

Plaintiffs’ free speech rights. Therefore, an actual and justiciable controversy

exists between Plaintiffs and Defendants.

       41.    Plaintiffs have standing to bring this action.

                            FACTUAL ALLEGATIONS

A.     Governor DeSantis Announces the “Stop W.O.K.E.” Legislative
       Initiative to Publicly Attack Disfavored Speech.

       42.    This case arises from the Florida Legislature and Executive Branch’s

efforts to suppress speech in Florida’s workplaces by passing a law that amends the

Florida Civil Rights Act of 1992 to forbid employers in Florida from endorsing

concepts about race and sex. This law enacts unconstitutional viewpoint-based

restrictions on the speech of Florida’s business owners and employers operating

within the State in violation of their First Amendment rights. It employs nebulous

terms with vague definitions to chill protected speech with which Florida’s

Governor and certain elected officials disagree, while protecting speech more

aligned with their own viewpoints on certain issues.

       43.    On December 15, 2021, Governor DeSantis held a press conference to

announce a new legislative proposal called the “Stop the Wrongs to Our Kids and

Employees (“W.O.K.E.”) Act.”

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        44.      The press release characterized the initiative as a way “to fight back

against woke indoctrination” and “take on . . . corporate wokeness.”13 The release

gave as examples of problematic corporate wokeness a company “advanc[ing]

white employees to confront their ‘privilege,’” among other things, and another

company “teach[ing] that white toddlers ‘develop racial biases by ages 3-5.’”14

        45.      The term “woke”—initially slang describing an awareness of

important social issues like racial justice—has been co-opted by political leaders in

Florida and elsewhere to belittle the viewpoint that such awareness is desirable.

        46.      Governor DeSantis further characterized critical race theory (“CRT”),

as a form of “state-sanctioned racism” from which Florida workers need to be

protected.15 The release gave as examples of CRT school exercises “celebrat[ing]

‘Black communism,’” and requiring students to “deconstruct their racial identities,

then rank themselves according to their ‘power and privilege.’”16

        47.      In reality, however, CRT is a concept developed in legal scholarship

that racism is not just a product of individual bias or prejudice but instead is

embedded in legal systems and policies.



13
   Press Release, Florida Office of the Governor, Governor DeSantis Announces Legislative Proposal to Stop
W.O.K.E. Activism and Critical Race Theory in Schools and Corporations (Dec. 15, 2021),
https://www.flgov.com/2021/12/15/governor-desantis-announces-legislative-proposal-to-stop-w-o-k-e-activism-and-
critical-race-theory-in-schools-and-corporations/.
14
   Id.
15
   Id.
16
   Id.

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        48.      During the press conference, Governor DeSantis described workplace

trainings about diversity, equity, and inclusion as creating “a hostile work

environment” by “attacking people based on their race or telling them that they’re

privileged or that they’re part of oppressive systems.”17 He further characterized

DEI trainings as “basically corporate sanctioned racism” that “they’re trying to

shove . . . down these employees’ throats.”18 As Governor DeSantis described DEI

trainings, “nobody wants this crap.”19

        49.      As reflected in its announcement and its title, content and viewpoint

discrimination were the intended purposes of the Stop WOKE Act from the start.

B.      The Florida Legislature Introduces an Act to Penalize Private Employers
        Who Promote Disfavored Concepts and Governor DeSantis Signs it into
        Law.

        50.      On January 11, 2022, the Republican Speaker pro tempore of the

Florida House of Representatives, Bryan Avila, introduced the Stop WOKE Act in

the House as House Bill 7. That same day, then Republican Senator and now

Commissioner of the Florida Department of Education (appointed by Governor

DeSantis), Manny Diaz, introduced the Stop WOKE Act in the Senate as Senate

Bill 148.




17
   Governor Ron DeSantis, Introducing the Stop W.O.K.E. Act, at 17:55-18:18, Facebook (Dec. 15, 2021),
https://www.facebook.com/GovRonDeSantis/videos/introducing-the-stop-woke-act/877277022969704/.
18
   Id. at 18:18-18:30.
19
   Id. at 26:55-27:06.

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         51.      The Stop WOKE Act effectuates the goals of Governor DeSantis’s

Stop WOKE initiative by amending Florida’s Civil Rights Act to prohibit certain

speech, which Governor DeSantis categorizes as “woke indoctrination,” from

Florida’s schools and workplaces.

         52.      Specifically, the legislation addressed Governor DeSantis’ crusade

against “corporate wokeness” by supplementing Florida’s Civil Rights Act to make

it unlawful for Florida employers to require employees to undergo training or

experience instruction that includes any of eight forbidden “concepts” regarding

race, sex, religion, or national origin.

         53.      On February 22, 2022, during the Stop WOKE Act’s second reading

on the House floor, Representative Avila underscored the content-based nature of

the bill by highlighting particular texts listed on the website of the Broward County

Schools’ equity and diversity department that he found problematic, including

Peggy McIntosh’s White Privilege: Unpacking the Invisible Knapsack and Robin

DiAngelo’s White Fragility: Why It’s So Hard for White People to Talk About

Racism.20 Both of these texts are commonly used in DEI workshops and curricula.

When later asked whether the White Privilege text would be permissible reading

for students under the bill, Representative Avila did not respond directly but said



20
   Fla. H.R., recording of proceedings, at 1:04:49-1:05:40 (Feb. 22, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=7959.

                                                         19
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that “if that material in any way, shape, or form, does not align with the principles

in this bill, then that material would certainly not be permissible.”21

         54.      On March 9, 2022, during the Stop WOKE Act’s second reading on

the Senate floor, Senator Diaz also highlighted the content-based nature of the bill

with his skepticism of the term “white privilege” in employee trainings.

Supporters of the bill rejected an amendment to omit the provisions of the bill

affecting private employers, prompted in part by a letter from business leaders

asking them to adopt such an amendment, by suggesting that the bill would not

interfere with workplace DEI trainings.22 However, when asked later if the bill

would limit a DEI facilitator from using the words “white privilege” in a company

training, Senator Diaz responded “it would depend on how it’s used. . . . [T]he

whole thrust of the bill is to say that you cannot impose on an individual based on

their background, the color of their skin or anything else, judgment on their

character . . . .”23 Asked again whether the term “white privilege” would be off-

limits under the bill as part of a discussion or a training, Senator Diaz responded “I

would say that there are some very specific topics listed including not imposing

privilege or oppression on any particular individual based on race.”24



21
   Id. at 1:38:15-1:39:06.
22
   Fla. S., recording of proceedings, at 2:25:25-2:54:11 (Mar. 9, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=8067.
23
   Id. at 3:44:32-3:45:17.
24
   Id. at 4:15:32-4:16:04.

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        55.      On April 22, 2022, Governor DeSantis signed the Stop WOKE Act

into law, hailing it as a step towards protecting against “the far-left woke agenda

tak[ing] over [Florida’s] schools and workplaces.”25

C.      The Stop WOKE Act Restricts Employer Speech and Employee Access
        to Information.

        56.      The Stop WOKE Act amends the Florida Civil Rights Act of 1992,

which was enacted to protect Floridians’ civil rights, including by prohibiting

unlawfully discriminatory employment practices.

        57.      The Stop WOKE Act modifies the Florida Civil Rights Act’s

definition of “unlawful employment practices” and “race discrimination” to

include “subjecting an individual, as a condition of employment, membership,

certification, licensing, credentialing, or passing an examination” to any “training,

instruction, or any other required activity” that “espouses, promotes, advances,

inculcates, or compels an individual to believe” any of the following concepts:

(1)     Members of one race, color, sex, or national origin are morally superior to
        members of another race, color, sex, or national origin.

(2)     An individual, by virtue of his or her race, color, sex, or national origin, is
        inherently racist, sexist, or oppressive, whether consciously or
        unconsciously.

(3)     An individual’s moral character or status as either privileged or oppressed is
        necessarily determined by his or her race, color, sex, or national origin.


25
   Press Release, Florida Office of the Governor, Governor Ron DeSantis Signs Legislation to Protect Floridians
from Discrimination and Woke Indoctrination (Apr. 22, 2022), https://www.flgov.com/2022/04/22/governor-ron-
desantis-signs-legislation-to-protect-floridians-from-discrimination-and-woke-indoctrination/.

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(4)    Members of one race, color, sex, or national origin cannot and should not
       attempt to treat others without respect to race, color, sex, or national origin.

(5)    An individual, by virtue of his or her race, color, sex, or national origin,
       bears responsibility for, or should be discriminated against or receive
       adverse treatment because of, actions committed in the past by other
       members of the same race, color, sex, or national origin.

(6)    An individual, by virtue of his or her race, color, sex, or national origin,
       should be discriminated against or receive adverse treatment to achieve
       diversity, equity, or inclusion.

(7)    An individual, by virtue of his or her race, color, sex, or national origin,
       bears personal responsibility for and must feel guilt, anguish, or other forms
       of psychological distress because of actions, in which the individual played
       no part, committed in the past by other members of the same race, color, sex,
       or national origin.

(8)    Such virtues as merit, excellence, hard work, fairness, neutrality, objectivity,
       and racial colorblindness are racist or sexist, or were created by members of
       a particular race, color, sex, or national origin to oppress members of another
       race, color, sex, or national origin.

§ 760.10(8)(a), Fla. Stat. (2022).

       58.   The Stop WOKE Act further provides that its eight restrictions “may

not be construed to prohibit discussion of the concepts listed therein as part of a

course of training or instruction, provided such training or instruction is given in an

objective manner without endorsement of the concepts.” § 760.10(8)(b), Fla. Stat.

(2022).

       59.   By its express terms, the Stop WOKE Act allows employers to offer

training that disagrees with these concepts or takes a neutral position on them,

while banning as unlawful employment practices any training that endorses the

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same concepts. Distinguishing the permissibility or impermissibility of

discussions based on a stance towards the topics to be discussed is a naked

example of a viewpoint-based restriction on private speech.

      60.    The Stop WOKE Act permits aggrieved parties to bring an

administrative action or civil lawsuit against an employer who engages in unlawful

employment practices. See § 760.11, Fla. Stat. (2022). Under the statute, parties

who may bring an action include individuals, the Florida Attorney General, and the

Commission.

      61.     The Stop WOKE Act further provides that the Florida Attorney

General may commence a civil action for damages, injunctive relief, civil penalties

of up to $10,000 per violation and such other relief as may be appropriate under

the laws of Florida to enforce the Act’s provisions. The Attorney General may do

this if she has reasonable cause to believe that any person or group has engaged in

a pattern or practice of discrimination as defined by the laws of this state or has

been discriminated against as defined by the laws of this state and such

discrimination raises an issue of great public interest. See § 760.021, Fla. Stat.

(2022).

      62.    The Stop WOKE Act provides that the Commission has the power to

initiate and investigate complaints alleging any discriminatory practice. Six

members of the Commission constitute a quorum for the purposes of exercising the


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Commission’s powers, but a quorum may also establish a panel of three

Commissioners to exercise the Commission’s powers.

      63.    The Commission’s investigatory powers allow it to issue subpoenas,

administer oaths or affirmations to and compel the attendance and testimony of

witnesses or to issue subpoenas for and compel the production of books, papers,

records, documents, and other evidence pertaining to any investigation or hearing.

These investigatory powers may be delegated to a single commissioner or the

executive director.

      64.    Furthermore, those alleging violations of the Florida Civil Rights Act

must submit their complaint to the Commission, which has the power to decide

whether there is reasonable cause to believe an alleged violation occurred. The

Commission also has the power to refer a complaint to any other State agency that

has jurisdiction.

D.    Plaintiffs Believe DEI Training is Beneficial, Enhances Productivity,
      Promotes Corporate Success, and is Culturally Valuable for Workplace
      Equality and Employee Morale.

      65.    Plaintiff Honeyfund has been planning to establish formal DEI

programming, including an initial training to be held at Honeyfund’s annual retreat

facilitated by an outside company specializing in diversity conversations. This

training, scheduled to take place in November of this year, would be followed by

additional learning sessions and workshops after the retreat. The training would


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cover the need to advance women in business, how to overcome structural racism

in the workplace, and understanding gender expansiveness. Honeyfund has also

been planning to implement anti-harassment training for its employees at the

upcoming annual retreat scheduled for November of this year.

      66.    Further, the CEO of Honeyfund has spoken regularly with employees

about the need for diversity and inclusion in the workplace. These conversations

primarily take place in team meetings or over Slack, an electronic messaging

platform. Honeyfund’s DEI programs and initiatives are both an important

expression of its values and critical for employee satisfaction. They help to foster

an inclusive workplace free of discrimination where employees of diverse

backgrounds, experience, and perspectives can work collaboratively toward shared

goals of professional advancement, innovation, and business success.

      67.    Honeyfund believes that diverse perspectives are proven to foster

business benefits, including by instructing employees to proactively engage

customers who have been historically excluded from the privilege of seeing people

like themselves in marketing. Honeyfund believes that by ensuring diversity in its

marketing, it can more effectively serve a diverse customer base. Honeyfund’s

efforts to address racial inequality are a cornerstone of the business and a defining

characteristic of the employees who work there. Recently, the Honeyfund CEO

interviewed customers who were married during a Black Lives Matter protest in


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June 2020. During the interview, published on Honeyfund’s YouTube channel, the

couple spoke about their experiences as Black people in the U.S. and the

challenges they faced based on their national origin as part of an immigrant family.

The interview included discussion on issues of systemic racism, such as the

discrimination Black women face in access to healthcare.

      68.    Plaintiff Primo’s employees attend annual anti-racism and DEI

trainings conducted by its parent company for Primo’s mid-level managers.

Topics in this training include developing awareness of implicit bias so that

individuals can compensate for these biases and overcome gaps in their knowledge

of issues relating to systemic racism, privilege, and injustice. The training also

addresses white privilege in society and the need for white allyship to elevate the

voices of people of color on the impact of systemic and anti-Black racism. Primo

also works with established anti-racism educators to advance anti-racist concepts

to its employees. Its next annual anti-racism training is scheduled for some time in

November of this year. Further, Primo’s employees attend other workshops on

racial equity conducted by its parent company on issues like navigating racism in

the workplace.

      69.    In addition, through its corporate franchisor, Ben & Jerry’s, Primo

requires its employees to attend monthly corporate trainings. A central component

of many of these trainings is that employees embark on “a racial equity learning


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journey.” Employees are expected to engage with selected readings,

documentaries, and articles on racial equity that speak in terms of “white

privilege.”

      70.     This year, Plaintiff Primo’s parent company also started its own DEI

consulting business to help mentor other minority business owners and executives.

      71.     To overcome implicit and systemic biases, Plaintiffs believe that

employers and employees must acknowledge such biases exist, rather than

ignoring them through a lens of “racial colorblindness.” Accordingly, Plaintiffs

believe, seeing color and race helps people understand that people’s lived

experiences and histories are different as a result of racial identity. Plaintiffs

believe that this understanding is essential for ensuring that all individuals are

treated as equal in the workplace, and that refusal to take public note of race allows

people to ignore manifestations of persistent discrimination in the workplace.

      72.     Without such DEI trainings, Plaintiff Honeyfund would risk losing

substantial benefits to its businesses, including improving collaboration and

productivity, attracting more diverse candidates, increasing employee engagement,

and connecting with diverse clientele. Honeyfund is best positioned to know what

practices are best for its business.

      73.     Honeyfund recognizes that DEI trainings are also paramount to

reducing workplace incidents of discrimination and harassment and may offer


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protection from liability for discriminatory incidents by fostering open

communication, mindful changes in attitude, and dismantling preconceived

notions. The Stop WOKE Act’s specific inclusion of “sex” as a category in many

of the eight restricted “concepts” has led employers like Honeyfund to wonder

whether anti-sexual harassment trainings, which it already plans to conduct, will

violate the law when it goes into effect.

      74.    Nor is it clear how Honeyfund will be able to conduct its planned DEI

training for later this year consistent with the Stop WOKE Act. Honeyfund’s CEO

is not sure how the company can address topics it considers critical, such as

unconscious bias and white or male privilege, without impermissibly “advancing”

these concepts. In order to move forward with its annual employee retreat and DEI

and anti-harassment trainings that will take place during the retreat, Honeyfund

will likely need to change the content of the training significantly to try to comply

with the speech restrictions in the Stop WOKE Act.

      75.    Beyond official training sessions, Honeyfund is concerned that

Florida’s Stop WOKE Act will impact its ability to have frank and necessary

discussions with its employees when instances of workplace discrimination arise

and need to be immediately remedied. Similarly, Honeyfund is concerned that its

leadership would be unable to candidly discuss certain concepts, including those

covered in a recent interview with Black customers published on the company


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YouTube channel, because any such discussion might be deemed an

“endorsement” of the prohibited concepts in violation of the Stop WOKE Act if

these or similar videos are used in future employee training.

      76.    Canceling or substantively changing the content of regular DEI

trainings threatens rendering any remaining trainings ineffective and forcing

Plaintiff Primo to dramatically alter its business model, sacrifice its values, and

turn away from central tenets it believes has made it successful. Primo is best

positioned to identify what practices are beneficial for running its business. Primo

evaluates the benefits of its current DEI trainings to include empowering

employees to offer optimal hospitality to its diverse customers, better understand

organizational culture, and build trust with each other leading to more effective

team functioning. Primo also assesses that DEI trainings allow it to attract a

diverse set of both clients and employees.

      77.    The Stop WOKE Act’s list of prohibited concepts will force Primo to

either alter its trainings or completely disregard corporate-mandated trainings to

avoid “espousing” the idea that societal power dynamics are often connected to

race and gender and that an institutional response is necessary to defeat systemic

racism and sexism. In order to comply with the vague and broad regulations of the

Stop WOKE Act, Primo would need to change several of the terms it uses that




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embody these concepts, such as “dominant group,” “racial bias,” “white man’s

privilege,” and “white man’s guilt.”

      78.    Primo is concerned that the Stop WOKE Act will not only disrupt

employee trainings, both those offered by corporate headquarters and those that its

parent company conducts independent of Ben & Jerry’s, but also how it runs its

business and engages with the community. Primo views itself a social justice

organization with the core objectives of effecting change in its community,

improving racial and socioeconomic equity, and creating opportunities for

historically marginalized people to help grow generational wealth in their

community. In pursuit of achieving these, Primo explicitly endorses concepts like

implicit bias, white privilege, and the need for restorative justice in

communications with its employees. Primo’s CEO is concerned that several

provisions of the Stop WOKE Act could make these communications unlawful.

      79.    Plaintiffs Orrin and Collective Concepts are regularly retained by

private employers to provide consulting and training on DEIJ issues. The

employers that Plaintiff Orrin, through Collective Concepts, works with find that

when employees have better awareness and understanding of these issues, they

work together more productively and each employee can thrive, fostering greater

innovation and success.




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      80.    Plaintiffs Orrin and Collective Concept’s clients further benefit from

the strength of organizations having a common mission and set of values, which

aids employees’ sense of connectedness to each other and the organization, and

resulting motivation to accomplish their workplace goals together.

      81.    Plaintiffs Orrin and Collective Concepts have found that organizations

that conduct regular, mandatory DEIJ trainings often experience an increase in

productivity, while clients who offer voluntary training often experience a

significant drop in attendance, making it difficult to achieve the policy, behavior,

and culture change DEIJ trainings are supposed to engender.

E.    Plaintiffs Believe That Acknowledging and Addressing Systemic Racism
      and Sexism is an Important Part of DEI Consultation and Training to
      Their or Their Clients’ Employees.

      82.    Plaintiffs Orrin and Collective Concepts must explicitly acknowledge

systemic racism and sexism in the workplace as part of efforts to promote racial

equity and gender parity, and to facilitate respectful, inclusive, and productive

work environments. Because of this, just about every prohibited concept in the

Stop WOKE Act would restrict Plaintiffs’ speech.

      83.    People of color, women, and LGBTQ+ individuals face professional

barriers stemming from unconscious and historical bias. Plaintiffs Orrin and

Collective Concepts’ DEIJ efforts identify and address implicit biases and




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inequities in the workplace based on race, color, sex, and national origin as a first

step to mitigating these existing inequities.

      84.    Plaintiffs Orrin and Collective Concepts’ trainings confront attitudes

and beliefs that occur outside of one’s conscious awareness and control and are

often incompatible with one’s well-intentioned conscious values. Implicit biases

are embedded stereotypes about groups of people that are automatic, unintentional,

deeply rooted, and able to influence an individual’s judgment and behavior, even

when that individual is not intentionally acting based on conscious prejudice.

Discussing and addressing this type of bias is essential for affirmatively addressing

and mitigating systemic workplace discrimination.

      85.    Plaintiffs Orrin and Collective Concepts’ trainings use both the

terminology and framework of unconscious bias to help individuals understand

how we each accrue biases based on our surroundings. In order to avoid advancing

the second prohibited concept, that “a person by virtue of his or her race, color,

national origin, or sex is inherently racist, sexist, or oppressive, whether

consciously or unconsciously,” Plaintiffs would have to change language and

replace their entire framework for the origins of racism in their presentations.

      86.    During their trainings, Plaintiffs Orrin and Collective Concepts also

help clients and their employees to identify their privilege relative to others in the

organization and how this often overlaps with hierarchies of race, gender, class,


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and sexual orientation. Plaintiffs will be unable to continue this portion of their

trainings without inculcating the prohibited concept that “a person’s moral

character or status as either privileged or oppressed is necessarily determined by

his or her race, color, national origin, or sex.”

       87.    Similarly, the prohibition on advancing concepts that a person must

bear responsibility for the acts of others—that an individual should be

discriminated against to achieve DEI or that a person “must feel guilt, anguish, or .

. . psychological distress because of actions . . . committed in the past by other

members of the same race, color, national origin, or sex”—would also impede

Plaintiffs Orrin and Collective Concepts’ speech. They regularly conduct sessions

with clients about corporate reparations and recompense for profiting from

historical injustices. For instance, Plaintiffs have assisted large banks and their

employees by critically examining historical policies contributing to the

disproportionate denial of loans to black borrowers. During these types of

sessions, participants routinely tell Plaintiffs that they feel shame and guilt for past

injustices, including for example, experiencing shame and guilt about the exclusion

of women from traditionally male fields like science and technology. In order not

to advance the concepts that reparations or psychological distress should be the

result of historical inequities, Plaintiffs would again have to change the content of

their trainings.


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      88.    A regular part of Plaintiffs Orrin and Collective Concepts’ DEIJ work

is helping clients to recognize when they have constructed reward systems that

privilege particular ways of working associated with white normative culture over

others that may be just as valuable for the organization but prioritize different

skills. They will be unable to perform this valuable function with clients without

promoting the prohibited concept that “such virtues as merit, excellence, hard

work, fairness, neutrality, objectivity, and racial colorblindness are racist or

sexist.”

      89.    Fostering inclusive workplaces that promote and empower a diverse

range of voices is an essential tenet of the types of businesses with which Plaintiffs

Orrin and Collective Concepts work, as embodied by Plaintiffs Honeyfund and

Primo. Though they do not work together, all Plaintiffs are deeply committed to

addressing racial and structural inequality and historical privileges associated with

gender, sexual orientation, and skin-color, no matter how upsetting or

uncomfortable facing such topics may be.

      90.    Plaintiff Honeyfund finds two of the Stop WOKE Act’s prohibited

concepts to be particularly problematic: “An individual, by virtue of his or her

race, color, sex, or national origin, is inherently racist, sexist, or oppressive,

whether consciously or unconsciously,” and “An individual’s moral character or

status as either privileged or oppressed is necessarily determined by his or her race,


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color, sex, or national origin.” Honeyfund believes it is important to train its

employees on unconscious bias because it exists, and therefore discussing it,

including in the context of formal training, is necessary for Honeyfund’s

employees to recognize and remedy unconscious bias in the workplace. Further,

Honeyfund feels it is important to acknowledge and discuss white and male

privilege with employees in order to advance women and people of color in the

workplace.

      91.    Plaintiff Primo is also especially concerned about these two concepts.

Primo would have to alter trainings for employees and disregard training

requirements by Ben & Jerry’s in order not to advance these concepts. Primo is

concerned it would need to reframe its trainings to shy away from topics such as

systemic racism, oppression, and intersectionality because it would not be able to

edit or censor training materials, including literature, films, and speakers, without

fundamentally altering their message, in order to comply with the law. Primo

believes it is essential to train employees about implicit bias so that they can

develop empathy for and acceptance of individuals from identity groups different

from their own. Likewise, Primo believes it is important that employees

comprehend their own privilege by virtue of race or gender and understand how

institutions contribute to oppression in order for employees to understand its




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organizational culture and work effectively as a team, including to offer optimal

hospitality to its diverse clientele.

F.     The Stop WOKE Act Infringes on Plaintiffs’ Constitutional Rights and
       Has Had an Immediate Chilling Effect on Protected Speech.

       92.    The Stop WOKE Act imposes unlawful restrictions on the First

Amendment rights of Plaintiffs by intruding on free expression and restricting

protected speech using impermissibly vague statutory language.

       93.    The Stop WOKE Act regulates how Plaintiffs train their employees

and clients and speak about issues of critical public import, without establishing

any overriding legitimate or compelling government interest to do so.

       94.    The Stop WOKE Act sets forth unconstitutionally vague and

overbroad restrictions. The statute uses sweeping general language, by defining

discrimination to include “espous[ing], promot[ing], advanc[ing], inculcate[ing], or

compel[ling]” belief.

       95.    The Stop WOKE Act also employs broad language to describe the

“concepts” that Florida’s employers are prohibited from advancing in any of the

previously referenced vague manners, including that individuals “should be

discriminated against or receive adverse treatment to achieve     diversity, equity,

or inclusion,” or that an individual “bears personal responsibility for and must feel

guilt, anguish, or other forms of psychological distress” because of past actions by

others of the same race.

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      96.    The vaguely worded prohibitions are written in language that

ambiguously bars “promot[ing]” concepts central to current DEI trainings and

workshops, including concepts such as cultural competency, white privilege,

implicit bias, systemic or institutionalized racism and sexism, and cisnormativity.

      97.    The Stop WOKE Act modifies the definitions contained in the Florida

Civil Rights Act, which permits employees to bring a private right of action and

has a chilling effect on Plaintiffs who fear litigation, including from lawful

employer-initiated discussions, training, or instruction, subjectively deemed to

“endorse” any of the eight forbidden concepts. See § 760.021, Fla. Stat. (2022).

Indeed, existing clients of Plaintiff Orrin expressed a desire to complete as much

DEIJ training before the Stop WOKE Act goes into effect on July 1, 2022, and

indicated that after that date, they would likely not engage Plaintiff Orrin for

further DEIJ work for fear of running afoul of the Stop WOKE Act. Potential

clients of Plaintiffs Orrin and Collective Concepts have already indicated an

unwillingness to hire them because their DEIJ trainings materials contain phrases

such as “white privilege,” “unconscious bias,” and “institutional slavery,” which

organizations fear could lead to employee discrimination complaints and legal

action.

      98.    As a result of the Stop WOKE Act and Governor DeSantis’ public

comments on the prohibited concepts, Plaintiffs Orrin and Collective Concepts’


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clients are afraid of being publicly targeted by the Governor and have adopted a

wait and see approach by delaying their contracting until they can be confident

their DEI efforts will not result in liability.

       99.    Several of Plaintiff Orrin and Collective Concepts’ clients have also

expressed that they believe the Stop WOKE Act is an unconstitutional restriction

of their speech but are unwilling to challenge it in court because of possible

repercussions from the Governor and other state officials.

       100. The Stop WOKE Act’s modifications further chill employer speech

by empowering the Commission to “receive, initiate, investigate, seek to

conciliate, hold hearings on, and act upon complaints” alleging that an employer

offers required training, instruction, or other required activity “endorsing” any of

the eight forbidden concepts using the same method under which the Commission

might use to investigate an employer for race-based hiring practices. See § 760.06,

Fla. Stat. (2022). Plaintiffs Honeyfund and Primo fear such legal and investigatory

ramifications should any of their critical instruction on DEI topics make an

employee uncomfortable.

       101. The vague nature of the Stop WOKE Act burdens Plaintiffs because

they cannot be certain of what discussions or training might be considered

noncompliant. Plaintiffs worry that by simply discussing, let alone

acknowledging, systemic and institutional racism and historical workplace gender


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and racial oppression to educate employees about the existence of implicit

workplace bias, they could cause an employee to file suit under the Florida Civil

Rights Act or launch a complaint with the Commission. Plaintiff Primo fears it

will not be able to continue to ask its employees to read or review a list of books,

films, and speakers in connection with DEI trainings meant to help franchisee

employees learn about racial equity.

      102. Plaintiffs also worry that navigating this new law will require

significant expenditure of time and money, including legal fees associated with

seeking compliance advice, so that they can continue to offer critical trainings

without “advancing” the regulated concepts.

      103. The Stop WOKE Act has had, and until enjoined will continue to

have, a significant chilling effect on Plaintiffs’ ability to plan and execute their

workplace DEI initiatives and corporate missions. For example, Plaintiff

Honeyfund is concerned that it will be censored from sharing information related

to DEI with its employees it feels important to share. The Stop WOKE Act

threatens Primo’s business model, and Primo believes it is impossible to comply

with the Stop WOKE Act without fundamentally changing how it runs its business.




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                             CLAIMS FOR RELIEF

                           COUNT 1
              FIRST AMENDMENT FREE SPEECH CLAUSE –
                     FREEDOM OF EXPRESSION

      104. Plaintiffs repeat and incorporate by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      105. All Plaintiffs state this cause of action against all Defendants, seek

preliminary and permanent injunctions, and challenge the Stop WOKE Act and

any government or agency action seeking to implement or enforce it.

      106. The First Amendment provides that the government “shall make no

law … abridging the freedom of speech.”

      107. The Stop WOKE Act violates the Free Speech Clause of the First

Amendment because it impermissibly discriminates against speech         based on

content and viewpoint by targeting certain subject matter and suppressing ideas

with which certain lawmakers disagree.

      108. Discrimination against speech based on content and/or viewpoint

violates the First Amendment. Efforts to suppress speech based on the

government’s opposition to particular speech or the speaker’s view are

unconstitutional.

      109. All Plaintiffs engage in speech about issues of systemic racism,

sexism, anti-LGBTQ+ bias, and implicit bias—whether through formal DEI


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trainings or instruction at workplace meetings. Plaintiffs believe that this speech is

an important part of their business, and particularly their efforts to effectively

address social and workplace inequalities, and thus wish to continue conducting

and/or participating in them. Plaintiffs’ decision to conduct such training or

instruction constitutes protected, private speech under the First Amendment.

      110. The purpose and effect of the Stop WOKE Act is to suppress

constitutionally protected First Amendment activity by targeting specific content

and viewpoints through a range of mechanisms. For example, the Stop WOKE Act

on its face prohibits private employers from “inculcating” certain views in their

employees through trainings that teach certain disfavored concepts. It further

directs the Attorney General to commence civil action for damages, injunctive

relief, civil penalties, and other relief “as may be appropriate” if she has cause to

believe any employer engages in such training and enables the Commission to

initiate, investigate, and otherwise act upon complaints of such trainings. The

Commission can also allow an aggrieved person to bring a civil action upon a

determination of reasonable cause, and it can refer complaints to other agencies

and government units. This includes Governor DeSantis’s Executive Office,

which the Commission specifically refers to on its website.

      111. The Executive Office of the Governor may, through its Citizen’s

Assistance Office: investigate, on complaint or on its own motion, any


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administrative action of any state agency, including the Commission, regardless of

the finality of the administrative action; request assistance and information from

the state agency; examine the records and reports of any state agency; and

coordinate individual state agency complaint-handling activities. See § 14.26, Fla.

Stat. (2022). The Executive Office of the Governor may also, through the Office

of Chief Inspector General, conduct similar activities. Gov. DeSantis has made

explicit statements concerning his intention to engage in viewpoint discrimination

with the Act.

      112. The Stop WOKE Act chills protected First Amendment activity by

threatening legal action and associated costs against any employers who require

training that “espouses, promotes, advances, inculcates, or compels” employees to

believe certain views. Government penalization of protected First Amendment

activity is unlawful.

      113. Plaintiffs are planning to change the language they use with respect to

DEI because of the Stop WOKE Act. Plaintiff Honeyfund will have to change the

language and focus of sessions in its planned DEI training about advancing women

in business and overcoming structural racism in the workplace, and its CEO is

already thinking through how to modify her routine discussions of diversity and

inclusion with staff. Plaintiff Primo will have to dramatically alter its business

model and sacrifice its values to comply with the law. It would have to cancel or


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unrecognizably alter DEI and anti-racism trainings for its employees. Moreover, it

would have to change how it speaks to employees about its mission of dismantling

white supremacy by creating opportunities for historically marginalized Black

communities to grow generational wealth. Plaintiffs Orrin and Collective Concepts

have already lost out on business contracts and had to change the language of their

DEIJ presentations wholesale, to the detriment of their clients who are seeking to

improve their work environments.

      114. Despite being framed as an antidiscrimination statute, the Stop

WOKE Act is not narrowly tailored to achieve a compelling government interest.

                           COUNT 2
           FOURTEENTH AMENDMENT DUE PROCESS CLAUSE –
                  VAGUENESS AND OVERBREADTH

      115. Plaintiffs repeat and incorporate by reference each and every

allegation contained in the preceding paragraphs as if fully set forth herein.

      116. The Due Process Clause of the Fourteenth Amendment provides that

no State may “deprive any person of life, liberty, or property, without due process

of law.”

      117. Under the Fourteenth Amendment to the United States Constitution, a

governmental enactment, like the Stop WOKE Act, is unconstitutionally vague if it

fails to provide a reasonable opportunity to know what conduct is prohibited or is

so indefinite as to allow arbitrary and discriminatory enforcement. In other words,


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a statute is unconstitutionally void for vagueness when its prohibitions are not

clearly defined.

      118. Vague restrictions chill free expression as individuals and entities,

including Plaintiffs, self-censor for fear of legal and/or financial consequences

when they are unsure on what side of the line of permitted or prohibited their

speech will fall.

      119. Overbroad laws, like the Stop WOKE Act, infringe on free speech by

regulating a substantial amount of constitutionally protected expression.

      120. The Stop WOKE Act is overbroad and employs vague and subjective

terms. It is unclear what training language would rise to the level of intending to

cause employees to “feel guilt, anguish, or other forms of psychological distress,”

leaving enforcement ripe for arbitrary application.

      121. The Stop WOKE Act makes it difficult for Plaintiffs to distinguish

between permissible and impermissible speech because of the difficulty in

assigning meaning to the Stop WOKE Act’s prohibited concepts, such as that a

person’s “moral character or status as either privileged or oppressed is necessarily

determined by his or her race, color, national origin, or sex.” The Stop WOKE Act

employs numerous other undefined terms and phrases whose meanings are key to

understanding the scope of its prohibitions and aligning employer behavior with

the law, including, for example, what it means to “inculcate” a concept in an


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employee and what instruction qualifies as “objective” and does not “endorse” the

regulated concepts.

       122. In spite of the Stop WOKE Act’s vagueness and overbreadth, it

exposes employers to a range of penalties, including civil investigation and

monetary fines.

       123. Because of the vagueness and overbreadth of the bill, Plaintiffs are

unsure about what language they can use in connection with their DEI efforts.

Plaintiff Honeyfund has concerns that its CEO cannot continue to speak to her

employees on DEI issues in the manner she believes is most productive for her

business for fear of lawsuits, and that she cannot even discern what speech the bill

permits and what it precludes. Similarly, Plaintiff Primo has concerns that it will

be unable to continue to discuss the prohibited concepts with its employees without

being accused of endorsing these topics and will thus need to sacrifice the

organization’s commitment to advancing racial and socioeconomic equity in order

to comply with the vaguely-worded Stop WOKE Act. Likewise, Plaintiff Orrin

and Collective Concepts’ clients are so afraid of the broad sweep of the bill that

they have asked her to omit phrases such as “white privilege,” “unconscious bias,”

and “institutional slavery” from her DEIJ training materials because of fear of legal

liability.




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      124. The Stop WOKE Act violates the Due Process Clause of the

Fourteenth Amendment to the United States Constitution and is void for vagueness

because it infringes on Plaintiffs’ constitutionally protected right to free speech and

provides inadequate notice of the conduct it purports to prohibit.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for judgment against Defendants for each of

the causes of action raised herein. Plaintiffs respectfully request that this Court

enter judgment in their favor and that the Court:

      A.       Declare that § 760.10(8), Fla. Stat. (2022) as amended by the Stop

WOKE Act is unlawful and unconstitutional;

      B.       Preliminarily and permanently enjoin Defendants from enforcing the

Stop WOKE Act;

      C.       Award Plaintiffs the costs incurred in pursuing this action, including

reasonable attorneys’ fees, reasonable and necessary costs of the suit, and

prejudgment and post-judgment interest at the highest lawful rates; and

      D.       Grant such other and further relief as this Court deems just and

appropriate.

Dated: June 30, 2022                   Respectfully submitted,

                                       By: /s/ Shalini Goel Agarwal

                                       Shalini Goel Agarwal


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